
The objections are 1st» That the verdict and judgment are contrary to evidence. 2d improper evidence was permitted to go to the jury after being objected to viz — the testimony of an insane person^ — and a supposed account on a slip of paper, without any date. 3d The evidence if legal proved no_ thing. 4th The only transaction proved ever to have taken place between the parties, was a settlement in 1779, when Stonebanks the plaintiff below had only about three shillings owing to him.
We have considered these reasons together with the affidavits in support of them, and we are of opinion, that it is improper for us on affidavits, to enter into an examination or trial of facts settled by a jury. Upon this ground the 1st, 3d, and 4th reasons are insufficient and must be rejected.
With regard to the 2d we think the affidavit proving that the witness had convulsion fits is not proof of the fact of insanity,* nor can we infer the insanity from the facts stated.
The other objection we think equally inconclusive. A paper was offered in evidence, and it is not stated for what purpose, whether as testimony bearing generally upon the cause, or as the account to which the party applied his evidence. It was objected to by James, merely because it had no date, an objection which evidently goes rather to the effect of the testimony when admitted, than to its competency.
As therefore it appears that a number of witnesses were examined to substantiate the account, and that the jury did settle the facts, and -have found a verdict, and nothing appears to make out the objection that improper evidence was admitted, the judgment must be affirmed with costs.
Judgment affirmed*
